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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF KENTUCKY
                                    CENTRAL DIVISION
                                       FRANKFORT

   GLOBAL FITNESS HOLDINGS, LLC,                     )
                                                     )
        Plaintiff,                                   )        Civil No. 3:20-cv-00011-GFVT
                                                     )
   V.                                                )
                                                     )
   COLUMBIA CASUALTY UNIVERSITY,                     )         ORDER OF DISMISSAL
                                                     )
        Defendant.                                   )

                                        *** *** *** ***

         This matter is before the Court upon the parties’ Agreed Order of Dismissal. [R. 13.]

 Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as follows:

         1. All of Plaintiff Global Fitness Holdings, LLC’s claims against Defendant Columbia

             Casualty University, are hereby DISMISSED WITH PREJUDICE with each party

             to bear its own costs and attorney’s fees; and

         2. This matter is STRICKEN from the Court’s active docket.

 This the 24th day of July, 2020.
